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                                  Case No: 1:23-cv-00811-EGB


    IN THE UNITED STATES COURT OF FEDERAL CLAIMS

Larry Golden, Plaintiff, Pro Se
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LARRY GOLDEN,
                  Plaintiff,                           Direct Patent Infringement
                                                       Under 28 U.S.C. § 1498
                      V.

UNITED STATES,                                         August 29, 2023
                 Defendant.




                PLAINTIFF’S REQUEST FOR JUDICIAL NOTICE

       Pursuant to Rule 201 of the Federal Rules of Evidence, the court has the authority to take

judicial notice of an adjudicative fact that is “not subject to reasonable dispute” such that it is

“capable of accurate and ready determination by resort to sources whose accuracy cannot

reasonably be questioned.” Fed. R. Evid. 201(b).

       Courts may take judicial notice of matters of record in other proceedings. Bennett v.

Medtronic, Inc., 285 F.3d 801, 803, n.2 (9th Cir. 2002); United States v. S. California Edison Co.,

300 F. Supp. 2d 964, 973 (E.D. Cal. 2004)
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       Moreover, “[c]ourts have the power to judicially recognize their own records of prior

litigation closely related to the present case. Although not required to take judicial notice, courts

often recognize part of the record in the same proceeding or in an earlier stage of the same

controversy.” Jack B. Weinstein & Margaret A. Berger, Weinstein’s Federal Evidence § 201.12[3]

(Joseph M. McLaughlin ed., 2d ed. 2010); see Gilmore v. City of Montgomery, 417 U.S. 556, 568

n.8 (1974) (notice by district court of evidence of defendant’s discriminatory activities presented

in prior case before same judge); Young v. Selsky, 41 F.3d 47, 50-51 (2d Cir. 1994) (notice by

circuit court of defendant’s prior testimony in related proceedings); Brown v. Lippard, 472 F.3d

384, 387 (5th Cir. 2006) (notice by trial court of existence of testimony in earlier dismissed

action); United States v. Estep, 760 F.2d 1060, 1063 (10th Cir. 1985) (notice by district court of

transcript of [] trial that preceded hearing on motion for return of property).


                                  STATEMENT OF FACTS

       The following “statement of facts” includes essential background facts that are necessary

for following the narrative of the instant case. The “statement of facts” does not include facts that

are meaningless to the resolution of the legal issue and the Court’s understanding of its narrative.

       Unlike the Golden v. USA Case No. 13-307C, whereby the Department of Homeland

(DHS) (“Government”) released a solicitation in 2007 [DHS S&T BAA07-10] for the

development, assembly, manufacture, and commercialization of a new, improved upon, and

useful cell phone capable of CBRNE detection; in Golden v. USA Case No. 23-811C, the

Department of Defense (DOD); Defense Threat Reduction Agency (DTRA) released a

solicitation in 2019 [RD-CB BAA HDTRA1-19-S-0005] for Topic CBI-01 “Chemical and

Biological Threats: TAK Plugins for Warning & Reporting. This topic supports the development

of ATAK, WinTAK, and WebTAK compatible versions of existing decision support tools for

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chemical and biological warning and reporting, hazard prediction, and consequence assessment.

The proposed software applications should be able to operate both with network connectivity and

without.

       Tactical Assault Kit (TAK) is a situational awareness solution designed for military and

first responder personnel. On the original development team for ATAK for Android devices

under the U.S. Air Force Research Laboratory, Draper Laboratory Inc. contributed to initial

design and core software.

       Draper designed a chemical, biological, radiological and nuclear (CBRN) Plugin to

enable users to integrate CBRN sensors into TAK, collect CBRN sensor data, display it on a map

and livestream it across the TAK network to other users. CBRN plugins for ATAK, WinTAK and

WebTAK are operational in the field.

       Draper supports non-military operations at the local, state, and federal levels by

developing [CBRN] plugins for CivTAK (Android Team Awareness Kit for Civilians Tactical

Assault Kit (TAK). https://www.draper.com/explore-solutions/tak


                        STANDARD FOR JUDICIAL REVIEW

       Patent infringement claims under § 1498 are based on products that are made by or for

the United States directly, such as pursuant to a government contract. Section 1498 applies to

every US patent, and is triggered in one of two scenarios: (1) the federal government itself

practices a patented invention, or (2) a private party acting for or on behalf of the government

infringes a patent, and does so with the government’s authorization or consent. A plaintiff at the

CFC cannot enjoin the government from infringing or seek treble damages, but it can recover

“reasonable and entire compensation for such use and manufacture.”



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       The Supreme Court explained the import of § 1498, stating that it was meant to “relieve

the contractor entirely from liability of every kind for the infringement of patents in

manufacturing anything for the government” in order “to stimulate contractors to furnish what

was needed for the war, without fear of becoming liable themselves for infringement.” See

Richmond Screw Anchor Co. v. U.S., 275 U.S. 331 (1928).

       In Advanced Software Design Corp. v. Federal Reserve Bank of St. Louis, 583 F.3d 1371,

1376–77 (Fed. Cir. 2009), the Federal Circuit interpreted the term “for the government” to mean

that the government derives a benefit from the use or manufacture of the patented technology.

For example, the patented technology itself must be used “in furtherance and fulfillment of a

stated Government policy,” which would serve the government’s interest, for the government’s

benefit, IRIS Corp. v. Japan Airlines Corp., 769 F.3d 1359, 1362 (Fed. Cir. 2014) (quoting

Madey v. Duke Univ., 413 F. Supp. 2d 601, 607 (M.D.N.C. 2006)).

       Excluding the CBRNE Plugins of Draper Laboratory Inc. and the software applications

of the DTRA is NOT an option. The Federal Circuit in FastShip, LLC v. U.S., “[W]e interpret

“manufactured” in § 1498 [] such that a product is “manufactured” when it is made to include

each limitation of the thing invented and is therefore “suitable for use”.

       The Department of Defense (DOD); Defense Threat Reduction Agency (DTRA) and the

third-party contractor Draper Laboratory Inc. cannot simply be ignored. If Plaintiff’s alleged

infringement claim was about whether Google infringes, a private party, the claim must be

dismissed in favor of a suit against the United States. See Saint-Gobain Ceramics & Plastics,

Inc. v. II-VI Inc., 369 F.Supp.3d 963 (2019).

       Plaintiff never alleged Google is a third-party government contractor with authorization

and consent to manufacture for the Government, CBRNE Plugins or ATAK software.



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           JUDICIAL NOTICE OF DEFENDANT’S REPLY TO THE
             GOVERNMENT’S MOTION TO DISMISS [DKT. 21]

       Plaintiff never alleged Google is a third-party government contractor with authorization

and consent to manufacture for the Government, CBRNE Plugins or ATAK software.

       The Government’s strategy to show Plaintiff and this Court as ignorant or downright

stupid is reflected in the Government’s reply. (Exhibit A) After countless unsuccessful attempts

to identify the CBRNE plugins of Draper and the software application of DTRA for connecting

plugins [hardware] to the Android OS technology platform, the Government always lean on the

stupidity of Plaintiff and this Court to make this case about Google.

       This case is about the Government authorizing and consenting to the manufacture of

Plaintiff’s patented “Multi-Sensor Detection System” or Plaintiff’s patented “Cell Phone

Detection System”.

       The Federal Circuit on 09/08/2022, in Larry Golden v. Google LLC; Case No. 22-1267

made a ruling on Plaintiff’s “Cell Phone Detection System” that comprises Plaintiff’s “Multi-

Sensor Detection System”:

       “Mr. Golden’s complaint includes a detailed claim chart mapping features of an accused
       product, the Google Pixel 5 Smartphone, to independent claims from U.S. Patent Nos.
       10,163,287, 9,589,439, and 9,069,189 … It [claim chart] attempts [] to map claim
       limitations to infringing product features, and it does so in a relatively straightforward
       manner …[W]e conclude that the district court’s decision in the Google case is not
       correct with respect to at least the three claims mapped out in the claim chart. Mr. Golden
       has made efforts to identify exactly how the accused products meet the limitations of his
       claims in this chart.…”

       For clarity, Plaintiff has included the following chart to show this case is not about the

Google Pixel 5 smartphone. It is about the “DoD/DTRA ATAK CBRNE SENSOR SYSTEM”.


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             DoD DTRA ATAK Multi-Sensor Detection System—CBRN
   DoD/DTRA ATAK CBRN                         Patent #: 9,589,439;                    Patent #: 9,096,189;
       Sensor System                         Independent Claim 19                    Independent Claim 7




                                         A multi-sensor detection system        A multi-sensor detection system
                                            for detecting at least one             for detecting at least one
                                         explosive, nuclear, contraband,        explosive, nuclear, contraband,
                                          chemical, biological, human,          chemical, biological, human, or
                                        radiological agent, or compound,            radiological agents and
                                                   comprising:                     compounds, comprising:
 With DTRA … ATAK includes
chemical, biological, radiological,
  and nuclear (CBRN) plug-ins.


  Android Team Awareness Kit,
  ATAK (built on the Android
operating system) With DTRA …
    ATAK includes chemical,
   biological, radiological, and
                                        a plurality of sensors for detecting   a plurality of sensors for detecting
    nuclear (CBRN) plug-ins.
                                         at least one chemical, biological,     at least one chemical, biological,
                                         radiological, explosive, nuclear,      radiological, explosive, nuclear,
  The Defense Threat Reduction
                                          human, or contraband agent or         human or contraband agents and
   Agency (DTRA) CBRN ISA:
                                            compound, capable of being          compounds and capable of being
Seamlessly integrates information
                                            disposed within, on, upon or           disposed within, on, upon or
  and control of multiple sensors
                                         adjacent a multi-sensor detection      adjacent a multi sensor detection
into a single dashboard, making it
                                                       device;                                device;
easier to detect CBRN threats and
   monitor a warfighter’s vitals
         https://thelastmile.
gotennapro.com/four-useful-atak-
            app-plugins/

        ATAK is an Android
       smartphone geospatial
    infrastructure and situational
awareness app https://www.civtak.
                                        monitoring equipment comprising        monitoring equipment comprising
   org/atak-about/. ATAK can be
                                            at least one of a computer,          at least one of plurality product
 downloaded to a phone, tablet, or
                                         personal computer (PC), laptop,       groups based on the categories of
    handheld device. ATAK is a
                                           notebook PC, handheld, cell         a computer, laptop, notebook, PC,
   government-off-the-shelf app
                                         phone, personal digital assistant        handheld, cell phone, PDA or
   for Android smartphones. The
                                        (PDA) or smart phone for at least        smart phone for the receipt and
     mobile broadband 4G LTE
                                        one of a receipt or transmission of           transmission of signals
 connection is able to facilitate the
                                               signals therebetween;                       therebetween;
  data throughput required for the
      operation of the ATAK.
        https://apps. dtic.mil/
      sti/pdfs/AD1069441.pdf




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 The Android phone connects to a
cell tower or base station via radio
  waves, and that tower is usually
     physically connected to the
   infrastructure to send that data
  wherever it needs to go. Draper
                                          at least one cell phone tower             at least one cell phone tower
  designed a chemical, biological,
                                       interconnected to the monitoring          interconnected to the monitoring
 radiological and nuclear (CBRN)
                                         equipment for sending signals             equipment for sending signals
Plugin to enable users to integrate
                                          thereto and receiving signals             thereto and receiving signals
 CBRN sensors into TAK, collect
                                       therefrom or at least one satellite       therefrom or at least one satellite
CBRN sensor data, display it on a
                                       capable of transmitting signals to        capable of transmitting signals to
  map and livestream it across the
                                           the monitoring equipment;                 the monitoring equipment;
    TAK network to other users.
     CBRN plugins for ATAK,
    WinTAK and WebTAK are
       operational in the field.
        https://www.draper.
     com/explore-solutions/tak


The Android-based smartphone[s]
now contained integrated satellite
  on-the move capability, on-the-
  move mapping solutions, and a
commercial laser range finder that
  significantly expanded the end-
      user range data flow and         at least one satellite or at least one   at least one satellite or at least one
    functionality. The Primary,        cell phone tower capable of signal       cell phone tower capable of signal
    Alternate, Contingency, and        communication between the multi-         communication between the multi
         Emergency (PACE)                sensor detection device and the        sensor detection device and the
   communications architectures              monitoring equipment;              monitoring equipment;
     established was: • Primary
   communications structure (P):
    ATAK—4G/LTE; Antenna:
       international [] satellite
    (INMARSAT) https://apps.
 dtic.mil/sti/pdfs/AD1069441.pdf




 The internet connection is shared
 by many ATAK functions on the
   Android smartphone such as            at least one internet connection        at least one internet connection
internet browsing, receiving email          capable of communication                capable of communication
messages and installing apps. Wi-      between the multi-sensor detection       between the multi sensor detection
Fi is a method for devices such as          device and the monitoring               device and the monitoring
    the Android smartphone to                       equipment;                              equipment;
 connect wirelessly to the Internet
        using radio waves.




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Sit(x) is a commercial Server-as-a-
Service solution based on the TAK
    platform developed by PAR
 Government for the U.S. Defense
 & Intelligence Community. Sit(x)          whereupon a signal sent to a
                                                                                 whereupon a signal sent to a
 has real-time communication and            receiver of the multi-sensor
                                                                                 receiver of the multi sensor
 information sharing. With Sit(x),      detection device from a satellite;
                                                                               detection device from a satellite;
     individuals and teams can              or to a cell phone tower; or
                                                                                  or to a cell phone tower; or
     communicate via personal             through at least one of a short-
                                                                               through short and/or long-range
  computers and handheld mobile         range radio frequency or a long-
                                                                              radio frequency; causes a signal to
devices by voice or text. They can       range radio frequency; causes a
                                                                                   be sent to the monitoring
 share real-time full-motion video     signal to be sent to the monitoring
                                                                               equipment that includes location
 (FMV), airborne/drone imagery,          equipment that includes at least
                                                                                      data and sensor data;
    GPS locations, photos, and         one of location data or sensor data;
satellite imagery. Fully secure and
compatible with ATAK, WinTAK,
and iTAK. Sit(x) accessed via free
   downloadable gateway apps.


  The ‘439 & ‘189 patent specs:
Product grouping (PG) 1 (storage
                                                                              wherein the monitoring equipment
& transportation); PG 2 (sensors);     wherein the monitoring equipment
                                                                               or multi sensor detection device
PG 3 (detector case; modified and       or multi-sensor detection device
                                                                              receives a signal via any of one or
  adapted); PG 4 (monitoring &         receives a signal via any of one or
                                                                              more products listed in any of the
  communication devices); PG 5           more products of any product
                                                                                 plurality of product grouping
 (communication methods); PG 6                grouping categories;
                                                                                           categories;
     (biometrics); and, PG 7
       (authorized person)


The Android-based smartphone[s]
now contained integrated satellite

Wi-Fi is a method for devices such      wherein at least one of a satellite
                                                                                  wherein at least one satellite
  as the Android smartphone to         connection, Bluetooth connection,
                                                                              connection, Bluetooth connection,
connect wirelessly to the Internet           WiFi connection, internet
                                                                                    WiFi connection, internet
       using radio waves…              connection, radio frequency (RF)
                                                                              connection, radio frequency (RF)
                                         connection, cellular connection,
                                                                                connection, cellular connection,
 The internet connection is shared     broadband connection, long range
                                                                                broadband connection, long and
 by many ATAK functions on the            radio frequency connection, or
                                                                               short-range radio frequency (RF)
   Android smartphone such as           short-range radio frequency (RF)
                                                                                connection is capable of signal
internet browsing, receiving email       connection is capable of signal
                                                                                    communication with the
    messages; installing apps…               communication with the
                                                                              transmitter and the receiver of the
                                           transmitter, a receiver of the
                                                                                monitoring equipment or multi
 The Android phone connects to a       monitoring equipment, the multi-
                                                                                  sensor detection device and
cell tower or base station via radio        sensor detection device, or
                                                                                  transceivers of the products;
 waves, and that tower is usually          transceivers of the products;
    physically connected to the
  infrastructure to send that data
      wherever it needs to go.




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BIOMETRICS: Biometric factors
allow for secure authentication on
                                       wherein the monitoring equipment       wherein the monitoring equipment
    the Android platform. The
                                        is equipped with a biometric lock      is equipped with a biometric lock
Android framework includes face
                                        disabler that incorporates at least    disabler that incorporates at least
     and fingerprint biometric
                                         one of a fingerprint recognition,      one of a fingerprint recognition,
  authentication. Android can be
                                              voice recognition, face                voice recognition, face
customized to support other forms
                                       recognition, hand geometry, retina     recognition, hand geometry, retina
 of biometric authentication (such
                                         scan, iris scan or signature such     scan, iris scan and signature such
              as Iris).
                                        that the monitoring device that is     that the monitoring device that is
                                         at least one of the computer, the      at least one of the computer, the
       ATAK is an Android
                                        laptop, the notebook, the PC, the      laptop, the notebook, the PC, the
      smartphone geospatial
                                       handheld, the cell phone, the PDA,     handheld, the cell phone, the PDA,
   infrastructure and situational
                                       or the smart phone is locked by the    or the smart phone is locked by the
awareness app https://www.civtak.
                                        biometric lock disabler to prevent     biometric lock disabler to prevent
  org/atak-about/. ATAK can be
                                                 unauthorized use;                      unauthorized use;
 downloaded to a phone, tablet, or
         handheld device.




The Android-based smartphone[s]
now contained integrated satellite

Wi-Fi is a method for devices such
  as the Android smartphone to
                                        wherein the only type or types of
connect wirelessly to the Internet                                             wherein the only type or types of
                                             communication with the
       using radio waves…                                                            communication with the
                                       transmitter and the receiver of the
                                                                              transmitter and the receiver of the
                                            communication device and
 The internet connection is shared                                                  communication device and
                                         transceivers of the products is a
 by many ATAK functions on the                                                  transceivers of the products is a
                                          type or types selected from the
   Android smartphone such as                                                    type or types selected from the
                                           group consisting of satellite,
internet browsing, receiving email                                                group consisting of satellite,
                                         Bluetooth, WiFi, internet, radio
    messages; installing apps…                                                  Bluetooth, WiFi, internet, radio
                                             frequency (RF), cellular,
                                                                                     frequency (RF), cellular,
                                           broadband, long range radio
 The Android phone connects to a                                                broadband, and long and short-
                                        frequency, and short-range radio
cell tower or base station via radio                                               range radio frequency (RF).
                                                  frequency (RF).
 waves, and that tower is usually
    physically connected to the
  infrastructure to send that data
      wherever it needs to go.




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    JUDICIAL NOTICE OF PLAINTIFF’S AMENDED COMPLAINT
  GOLDEN V. GOOGLE LLC [NDC Case No. 4:22-cv-05246-HSG; Dkt. 42]

       Many inventions are not entirely new but instead build upon previous inventions and

provide meaningful improvements. This might involve adding an element to an existing

invention, putting an existing invention to a new and unexpected use, or invigorating an old

product with a new form of technology.

       For example, adding a new technology to an old product occurred when companies

started using microprocessors to control devices that had been controlled by analog circuitry.

These companies succeeded in obtaining patents for the improved devices, which covered the

differences between the original version and the new version.

       The Amended Complaint describes Google’s CBRNE detection and infringement with

software sold by Google at Google Play. At least nine (9) “embedded” standard sensors for at

least one of CBRNE detection; describes how the Google Pixel Camera is used for CBR sensing.

(Exhibit B)



Federal Rules of Evidence > Rule 403. Excluding Relevant Evidence for
Prejudice, Confusion, Waste of Time, or Other Reasons

       The court may exclude relevant evidence if its probative value is substantially

outweighed by a danger of one or more of the following: unfair prejudice, confusing the issues,

misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence.

       The case law recognizes that certain circumstances call for the exclusion of evidence

which is of unquestioned relevance. These circumstances entail risks which range all the way

from inducing decision on a purely emotional basis, at one extreme, to nothing more harmful




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than merely wasting time, at the other extreme. Situations in this area call for balancing the

probative value of and need for the evidence against the harm likely to result from its admission.

       Exclusion for risk of unfair prejudice, confusion of issues, misleading the jury, or waste

of time, all find ample support in the authorities. “Unfair prejudice” within its context means an

undue tendency to suggest decision on an improper basis, commonly, though not necessarily, an

emotional one.




                                                      Sincerely,



                                                      s/ Larry Golden
                                                      Larry Golden, Pro Se Plaintiff
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                                                      Email: atpg-tech@charter.net




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                         CERTIFICATE OF SERVICE


      The undersigned hereby certifies that on this 29th day of August, 2023, a true
and correct copy of the foregoing “Plaintiff’s Request for Judicial Notice”, was
served upon the following Defendant by priority “express” mail:


                                 Grant D. Johnson
                                  Trial Attorney
                          Commercial Litigation Branch
                                  Civil Division
                               Department of Justice
                              Washington, DC 20530
                           Grant.D.Johnson@usdoj.gov
                                  (202) 305-2513




                                      s/ Larry Golden
                                      Larry Golden, Pro Se
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